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AO 245B (Rev. 06/05) Judgment in a Criminal Case
                   Sheet 1


                            UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WISCONSIN
          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                    V.
          TIMOTHY FRAZIER                                                   Case Number: 12-CR-117

                                                                            USM Number: 17639-111

                                                                            Reed Cornia
                                                                            Defendant's Attorney

                                                                            Julie Pfluger
                                                                            Assistant United States Attorney
THE DEFENDANT:
:     pleaded guilty to count one of the information.

9     pleaded nolo contendere to count(s)
      which was accepted by the court.
9     was found guilty on count(s)
      after a plea of not guilty.


The defendant is adjudicated guilty of these offenses:


 Title & Section                   Nature of Offense                                            Offense Ended                     Count


 21 U.S.C. § 846               conspiracy to possess with intent to distribute          M ay 7, 2012                          1
                               marijuana, a Class D felony


     The defendant is sentenced as provided in Pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
9     The defendant has been found not guilty on count(s)

:     The indictment is dismissed on the motion of the United States.
      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and the United States attorney of material changes in economic circumstances.

                                                                                      April 24, 2013
                                                                                      Date of Imposition of Judgment

                                                                                      /s Lynn Adelman

                                                                                      Signature of Judicial Officer

                                                                                      Lynn Adelman, District Judge
                                                                                      Name & Title of Judicial Officer

                                                                                      April 26, 2013
                                                                                      Date
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                                                                                                                         Judgment Page 2 of 5

AO 245B (Rev 06/05) Judgment in a Criminal Case:
         Sheet 4 - Probation

Defendant:                    TIMOTHY FRAZIER
Case Number:                  12-CR-117
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of three years.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
      9 The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
           substance abuse. (Check, if applicable.)
      : The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
      9 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      9 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
           is a student, as directed by the probation officer. (Check, if applicable.)
      9 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule
      of Payments sheet of this judgment.


          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
      conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
 1)   the defendant shall not leave the judicial district without permission of the court or probation officer;
 2)   the defendant shall report to the probation officer shall submit a truthful and complete written report within the first five days of each
      month;
 3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)   the defendant shall support his or her dependents and meet other family responsibilities;
 5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
 6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
      substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)   the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
      a felony, unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
      record or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the
      defendant's compliance with such notification requirement.
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                                                                                                    Judgment Page 3 of 5

AO 245B (Rev 06/05) Judgment in a Criminal Case:
          Sheet 4A - Probation

Defendant:                              TIMOTHY FRAZIER
Case Number:                            12-CR-117

                                                   ADDITIONAL PROBATION TERMS

      1. The defendant may not possess any firearms or dangerous weapons;

     2. The defendant shall provide the supervising U.S. probation officer with any and all requested financial
information, including copies of state and federal tax returns.

     3. The defendant shall submit his person, property, residence, office, or vehicle to a search, conducted by a
probation officer at a reasonable time and in a reasonable manner, whenever the probation officer has reasonable
suspicion of contraband or of a violation of a condition of release; failure to submit to such a search may be a ground
for revocation. The defendant shall advise any other residents that the premises he is occupying may be subject
searches pursuant to this condition.

     4. The defendant shall abstain from the use of illegal drugs or the excessive use of alcohol, and shall
participate in substance abuse treatment. Defendant shall submit to drug testing beginning within 15 days of release
and up to 60 drug tests annually thereafter; the probation office may utilize the Administrative Office of the U.S.
Courts phased collection process.

     5. The defendant shall comply with the conditions of home confinement for a period not to exceed 180
consecutive days. During this time, the defendant will remain at his place of residence except for employment and
other activities approved in advance by the probation/pretrial services officer. If violations occur the defendant may
be placed in lock down status (restricted to his residence at all times) for one or more days with Court approval.
The defendant will maintain a telephone at his place of residence without "call forwarding," a modem, "caller ID,"
"call waiting," or portable cordless telephones for the above period. At the direction of the probation/pretrial
services officer, the defendant shall wear an EM device and follow EM procedures specified by the supervising
probation officer. The defendant shall pay the cost of this program as directed by the supervising probation officer.
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                                                                                                                     Judgment Page 4 of 5

AO 245B (Rev 06/05) Judgment in a Criminal Case:
          Sheet 5 - Criminal Monetary Penalties

Defendant:                              TIMOTHY FRAZIER
Case Number:                            12-CR-117

                                              CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                                                   Assessment                       Fine                       Restitution
           Totals:                                 $100.00                          $                          $




      9 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will
          be entered after such determination.


      9 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.


Name of Payee                                      Total Loss*                   Restitution Ordered            Priority or Percentage




Totals:                                            $                         $

9 Restitution amount ordered pursuant to plea agreement $

9 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


9 The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     9 the interest requirement is waived for the          9 fine            9 restitution.

     9 the interest requirement for the                    9 fine            9 restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev 06/05) Judgment in a Criminal Case:
    Sheet 6 - Schedule of Payments

Defendant:                                             TIMOTHY FRAZIER
Case Number:                                           12-CR-117

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A     :     Lump sum payment of $100.00 due immediately, balance due

            9 not later than                          , or

            9 in accordance 9 C, 9 D, 9 E or 9 F below; or

B 9         Payment to begin immediately (may be combined with          9 C, 9 D, or 9 F below); or
C 9         Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                                 (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D     9     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                              (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprison-
            ment to a term of supervision; or
E     9     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F     9     Special instructions regarding the payment of criminal monetary penalties:




      Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




9 Joint and Several
      Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
      corresponding payee, if appropriate:




9 The defendant shall pay the cost of prosecution.

9 The defendant shall pay the following court cost(s):

9 The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
